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10                                  UNITED STATES DISTRICT COURT

11               NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

12

13 UNITED STATES OF AMERICA,                          CASE NO. 3:18-cr-00577-CRB

14                     Plaintiff,                     [Proposed] Order Granting Defendant
                                                      Stephen Chamberlain’s Motion to Dismiss
15               vs.                                  Counts One through Fifteen and Seventeen
                                                      Of the Superseding Indictment as Time-
16 MICHAEL RICHARD LYNCH AND                          Barred and for Pre-Indictment Delay
   STEPHEN KEITH CHAMBERLAIN
17                                                    Hon. Charles R. Breyer
             Defendants.
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     3892898.1                                                             Case No. 3:18-cr-00577-CRB
                                             [Proposed] Order
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 1               This CAUSE having come before the Court upon Defendant Stephen Keith Chamberlain’s

 2 Motion to Dismiss Counts One through Fifteen and Seventeen Of the Superseding Indictment as

 3 Time-Barred and for Pre-Indictment Delay. After due consideration of the filings, the governing

 4 law, and the argument of the parties, IT IS HEREBY ORDERED that Mr. Chamberlain’s motion

 5 is GRANTED, and that Counts One through Fifteen and Count Seventeen of the Superseding

 6 Indictment are DISMISSED.

 7               IT IS SO ORDERED.

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 9 Dated: ________________________

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                                                        Hon. Charles R. Breyer
13                                                      United States District Judge
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     3892898.1                                         1                        Case No. 3:18-cr-00577-CRB
                                                [Proposed] Order
